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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 1:19-cv-24539-FAM

   HAPPY TAX FRANCHISING, LLC
   and MARIO COSTANZ,
   Plaintiffs,

   v.

   JAMEY HILL,
   THE J.L. HILL GROUP, LLC, et al.,
   Defendants.
  _______________________________________________/
  JAMEY HILL, THE JL HILL GROUP LLC,
  TRICIA DRAGO and BANYAN ACCOUNTING, LLC,
  Counterclaim and Third-Party Plaintiffs,
  v.
  MARIO COSTANZ, HAPPY TAX HOLDINGS CORP.,
  HAPPY TAX FRANCHISING, LLC, TED MUFTIC,
  MICHAEL HADZIPANAJOTIS and MONICA POIRIER,
  Counterclaim and Third-Party Defendants.
  _________________________________________________/

                              NOTICE OF WITHDRAWAL OF
                         JOINT MOTION FOR PROTECTIVE ORDER

         Plaintiffs MARIO COSTANZ, HAPPY TAX HOLDINGS CORP., HAPPY TAX

  FRANCHISING, LLC, respectfully withdraw their Joint Motion for Protective Order pursuant to

  Federal Rule of Civil Procedure 26(c)(1)(B) , stating as follows:

         1. On July 12, 2022, following his review of Plaintiffs' Motion for a Protective

             Order, Defendants’ Counsel replied regarding the content of this motion and the

             matter has resolved successfully.




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   Respectfully Submitted,


   __________________________________
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   Counsel for Plaintiffs/Counterclaim
   Defendants Happy Tax Franchising,
   LLC and Happy Tax Holdings, Corp.




                                  CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on July 12, 2022, I electronically filed the

      foregoing document with the Clerk of the Court using CM/ECF to those parties

      registered to receive electronic notices of filing in this case.




      /s/ AMBER ROBINSON
      ______________________________
      Counsel for Plaintiffs Happy Tax
      Franchising, LLC and Happy Tax
      Holdings, Corp.




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